Case 2:04-CV-02283-SHI\/|-tmp Document 48 Filed 05/20/05 Page 1 of 2 Pag |D 34

Fll_Er:) far f

  

IN THE UNITED sTATEs DISTRICT coURT
FOR THE wEsTERN DISTRICT oF TENNESSEE U%PQM m
wEsTERN DIVISION ` ‘ t

 

 

JANE DOE #1,and through her

next friend (mother), JANE DOE

#2; and JANE DOE #2,
Plaintiffs,

vs. Civ. No. 04-2283-Ma[P

MEMPHIS CITY SCHOOLS, et al.,

Defendants.

\\_r'~../~_rv\\_¢'~.r'~_/`_¢Vv`_rv~._¢

 

ORDER DENYING AS MOOT PLAINTIFFS’ MOTION TO COMPEL DEFENDANTS
TO FILE COMPLETE TRANSCRIPTS OF DEPOSITIONS REFERENCED
IN THEIR MOTIONS

 

Before the court is Plaintiffs' Motion to Compel
Defendants to File Complete Transcripts of Depositions Referenced
in Their Motions, filed May 5, 2005 (Dkt #36). On May 19, 2005,
the court held a telephonic hearing on the motion and counsel for
all parties were heard. Parties stated in court that complete

transcripts Will be filed with the court. Therefore, the motion is

'*C:k?&h

TU M. PHAM
United States Magistrate Judge

S/ lo(¢$'

Date

Tmsdocunmntenunedontheducketshemincompwance //
mm Hule 58 and/or 79{a} FHCP on 6'° Z S~OS"

DENIED as MOOT.

IT IS SO ORDERED.

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 2:04-CV-02283 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

EssEE

 

Joe L. Wyatt

McWH[RTER WYATT & ELDER
73 Union Ave.

l\/lemphis7 TN 38103

William T. Winchester

THE LAW OFFICES OF WILLIAM T. WINCHESTER
2600 Poplar Ave.

Ste. 507

l\/lemphis7 TN 38112

Ernest G. Kelly

STOKES BARTHOLOMEW EVANS & PETREE, P.A.
1000 Ridgeway Loop Rd.

Ste. 200

l\/lemphis7 TN 38120

Geoffrey Gaia

McWH[RTER WYATT & ELDER
73 Union Ave.

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

